           Case 3:12-cr-00875-AJB                     Document 44                Filed 04/11/12              PageID.107              Page 1 of 2


     'A0245B(CASD) (Rev, I(12)      Judgment in a Criminal Case
               Sheet I




                                              UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                                           12 APR f f PH 2: 41,
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CAS~F';'        u.~
                                                                                                            ~ ,- t'i1t ,~H I)I'}
                                        v.                                         (For Offenses Committed On or After November 1, ~7)

                ARMANDO DANIELS MARTINEZ (01)                                      Case Number: 12CR0875-AJB                         fJV~     rM
                                                                                    Joseph S. Camden FD
                                                                                   Defendant's Attorney
     REGISTRATION NO. 30416298

    o
     THE DEFENDANT:
     181 pleaded guilty to count(s) _O_n_e_o_f_t_he_In_f!_o_rm_a_t_io_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
     Title & Section                         Nature of Offense                                                                               Number(s)
8 USC 1324(a)(I)(A)(iv)               Inducing and Encouraging lIlegal Aliens to Enter the United States                                           I




        The defendant is sentenced as provided in pages 2 through _ _.::2_ _ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o   The defendant has been found not guilty on count(s)

  D ~~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0
                                                            --------------------------------------
                                                                                              areD dismissed on the motion of the United States.
 181 Assessment: $100.00 Forthwith

  181 Fine waived                                   D Forfeiture pursuant to order filed
                                                                                                ---------                      , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence.
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                                12CR0875-AJB
      Case 3:12-cr-00875-AJB                     Document 44       Filed 04/11/12        PageID.108           Page 2 of 2


AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
           Sheet 2 - [mprisonment

                                                                                           Judgment   Page _ _2 _ of         2
 DEFENDANT: ARMANDO DANIELS MARTINEZ (0\)
 CASE NUMBER: 12CR0875-AJB
                                                         IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED



    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o   The court makes the following recommendations to the Bureau of Prisons:




    o   The defendant is remanded to the custody of the United States Marshal.

    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oam.     Op.m.     on
               as notified by the United States Marshal.

    o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                   -------------------------------------------------------------------------
          o as notified by the United States Marsha\.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                               to

 at ________________________ , with a certified copy of this judgment.


                                                                                         UNITED STATES MARSHAL


                                                                   By _ _ _ _ _ _~~~~~~~---------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                   12CR0875-AJB
